PR°B»H Case 2:OO-Cr-20177-BBD Document 139 Filed 07/29/05 Pagelon Page|D 151

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U.s.A.vs.KlNoAR GREEN pocket Ne. 2=00<:1¢20177.001

Petition on Probation and Supervised Release

COMES NOW FREDD[E MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Kindar Green who was placed on supervision by the Honorable
Julia S. Gibbog§ sitting in the Court at Memphis, TN on the lim day of Jan\_ig_ry, 2002 who fixed the period of
supervision at four 141 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

 

The defendant shall pay $3,093.00 restitution ($3,068.00 balance).

The defendant shall submit to substance abuse testing and treatment as directed by the probation office

*Term of Supervised Release began May ll, 2005.

RESPEC'I`FULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mr. Green has obtained work through a temporary employment agency. It is recommended the Court specifically
approve the following payment plan.

PRAYING THAT TI-IE COURT WILL ORDER Kindar Green’ s restitution payments be set at ten percent ( 1 0%)
of his monthly gross income payable by the end of each month.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 139 in
case 2:00-CR-20177 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listedl

ENNESSEE

 

Tony R. Arvin

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FEDERAL PUBLIC DEFENDER
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Honorable Bernice Donald
US DISTRICT COURT

